Case 22-50035-JPS            Doc 617         Filed 10/17/23 Entered 10/17/23 12:30:02                 Desc Main
                                             Document Page 1 of 1         Page 1 of 1


   UNITED STATES BANKRUPTCY COURT
   Middle District of Georgia
   PDF FILE WITH AUDIO FILE ATTACHMENT

         2022-50035
         Teri G. Galardi



         Case Type :                    bk
         Case Number :                  2022-50035
         Case Title :                   Teri G. Galardi

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